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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


 EISAI INC.,                                CIVIL ACTION NO. 08-4168 (MLC)

       Plaintiff,                                 ORDER & JUDGMENT

       v.

 SANOFI-AVENTIS U.S., LLC, et al.,

       Defendants.



      For the reasons stated in the Court’s Memorandum Opinion

dated March 28, 2014, IT IS on this 28th day of March, 2014,

ORDERED that the motion for summary judgment as to liability

issues by Defendants, Sanofi-Aventis U.S., LLC and Sanofi-

Aventis, U.S., Inc. (collectively “Sanofi”) (dkt. entry no. 245)

is GRANTED as to all claims asserted against Sanofi; and it is

further

       ORDERED that the motion for summary judgment as to damages

issues and/or statute of limitations by Sanofi (dkt. entry no.

246) is DENIED WITHOUT PREJUDICE AS MOOT; and it is further

       ORDERED that the motion for partial summary judgment by

Plaintiff, Eisai Inc. (“Eisai”) (dkt. entry no. 261) is DENIED

WITHOUT PREJUDICE AS MOOT; and it is further

       ORDERED that the motion for sanctions by Sanofi (dkt. entry

no. 252) is DENIED WITHOUT PREJUDICE AS MOOT; and it is further
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       ORDERED that the motion to exclude the testimony of

Nicholas Economides by Sanofi (dkt. entry no. 234) is DENIED

WITHOUT PREJUDICE AS MOOT; and it is further

       ORDERED that the motion to exclude the testimony of Einer

Elhauge by Sanofi (dkt. entry no. 236) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further

       ORDERED that the motion to exclude the testimony of Stephen

Fredd by Sanofi (dkt. entry no. 238) is DENIED WITHOUT PREJUDICE

AS MOOT; and it is further

       ORDERED that the motion to exclude the testimony of Tony

Casanova, Stephen Melvin, Ronald Sacher, and Sheila Weiss Smith

by Sanofi (dkt. entry no. 240) is DENIED WITHOUT PREJUDICE AS

MOOT; and it is further

       ORDERED that the motion to exclude the testimony of Jerry

A. Rosenblatt by Sanofi (dkt. entry no. 242) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further

       ORDERED that the motion to preclude the expert opinion of

George P. Sillup by Eisai (dkt. entry no. 255) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further

       ORDERED that the motion to preclude the expert opinion of

Harvey R. Kelly by Eisai (dkt. entry no. 257) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further




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       ORDERED that the motion to preclude the expert opinion of

Jerry Hausman by Eisai (dkt. entry no. 259) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further

      ORDERED that the motion to strike the declaration of Jerry

A. Hausman by Eisai (dkt. entry no. 291) is DENIED WITHOUT

PREJUDICE AS MOOT; and it is further

      ADJUDGED that judgment is entered on the 15 U.S.C. § 2

claims for willful and unlawful monopolization and attempted

monopolization in contravention of Section 2 of the Sherman Act

against Eisai and in favor of Sanofi; and it is further

      ADJUDGED that judgment is entered on the 15 U.S.C. § 14

claims for de facto exclusive dealing in violation of Section 3

of the Clayton Act against Eisai and in favor of Sanofi; and it

is further

      ADJUDGED that judgment is entered on the 15 U.S.C. § 1

claims for unreasonable restraint of trade in violation of

Section 1 of the Sherman Act against Eisai and in favor of

Sanofi; and it is further

      ADJUDGED that judgment is entered on the N.J.S.A. 56:9-3,

and 56:9-4 claims for violations of the New Jersey Antitrust Act

against Eisai and in favor of Sanofi; and it is further




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      ORDERED that the Clerk of the Court designate this action

as CLOSED.

                                             s/ Mary L. Cooper
                                         MARY L. COOPER
                                         United States District Judge




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